Filed 11/11/20                                                                          Case 20-25169                                                                     Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

                 Eastern District of California

  Case number (If known):                               Chapter you are filing under:
                                                        ❑        Chapter 7
                                                        ❑        Chapter 11
                                                        ❑        Chapter 12
                                                        ✔
                                                        ❑        Chapter 13
                                                                                                                                                  ❑Check if this is an
                                                                                                                                                     amended filing



 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                04/20
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
 cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
 a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
 spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
 needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

  Part 1: Identify Yourself

                                                    About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
   1.   Your full name

        Write the name that is on your              Joseph
        government-issued picture                   First name                                                       First name
        identification (for example, your
                                                    Duwayne
        driver’s license or passport).
                                                    Middle name                                                      Middle name
        Bring your picture identification to        Olheiser
        your meeting with the trustee.              Last name                                                        Last name


                                                    Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




   2.   All other names you have used
                                                    Joseph
        in the last 8 years                         First name                                                       First name
        Include your married or maiden              D
        names.                                      Middle name                                                      Middle name
                                                    Olheiser
                                                    Last name                                                        Last name



                                                    Joe
                                                    First name                                                       First name


                                                    Middle name                                                      Middle name
                                                    Olheiser
                                                    Last name                                                        Last name

                                                    See continuation page.



   3.   Only the last 4 digits of your
                                                    xxx - xx - 0        8       7   1                                xxx - xx -
        Social Security number or
        federal Individual Taxpayer                 OR                                                               OR
        Identification number                       9xx - xx -                                                       9xx - xx -
        (ITIN)



 Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
Filed 11/11/20                                                              Case 20-25169                                                                                     Doc 1

  Debtor 1            Joseph              Duwayne                      Olheiser                                           Case number (if known)
                      First Name          Middle Name                  Last Name


                                          About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


   4.   Any business names and
        Employer Identification
                                           ✔I have not used any business names or EINs.
                                           ❑                                                                   ❑I have not used any business names or EINs.
        Numbers (EIN) you have used
        in the last 8 years
                                           Business name                                                       Business name
        Include trade names and doing
        business as names
                                           Business name                                                       Business name


                                                        -                                                                   -
                                           EIN                                                                 EIN


                                                        -                                                                   -
                                           EIN                                                                 EIN




                                                                                                               If Debtor 2 lives at a different address:
   5.   Where you live
                                           2052 Bates Circle
                                           Number             Street                                           Number            Street




                                           El Dorado Hills, CA 95762
                                           City                                     State     ZIP Code         City                                     State     ZIP Code

                                           El Dorado
                                           County                                                              County

                                           If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from yours, fill it
                                           it in here. Note that the court will send any notices to you at in here. Note that the court will send any notices to you at this
                                           this mailing address.                                           mailing address.


                                           Number             Street                                           Number            Street



                                           P.O. Box                                                            P.O. Box



                                           City                                     State     ZIP Code         City                                     State     ZIP Code




   6.   Why you are choosing this          Check one:                                                          Check one:
        district to file for bankruptcy
                                           ✔
                                           ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                  lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                           ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




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  Debtor 1           Joseph               Duwayne                  Olheiser                                             Case number (if known)
                     First Name           Middle Name                 Last Name


  Part 2: Tell the Court About Your Bankruptcy Case


                                          Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
   7.   The chapter of the Bankruptcy     (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
                                          ❑
        Code you are choosing to file
        under                                   Chapter 7
                                          ❑     Chapter 11
                                          ❑     Chapter 12
                                          ✔
                                          ❑     Chapter 13



   8.   How you will pay the fee          ✔
                                          ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                              about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                              order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                              a pre-printed address.

                                          ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                              The Filing Fee in Installments (Official Form 103A).

                                          ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                              but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                              that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                              out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                          ✔ No.
                                          ❑
   9.   Have you filed for bankruptcy
        within the last 8 years?          ❑Yes.     District                                          When                          Case number
                                                                                                             MM / DD / YYYY

                                                    District                                          When                          Case number
                                                                                                             MM / DD / YYYY

                                                    District                                          When                          Case number
                                                                                                             MM / DD / YYYY



                                          ✔ No.
                                          ❑
   10. Are any bankruptcy cases
        pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
        spouse who is not filing this
        case with you, or by a business             District                                      When                           Case number, if known
        partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                    Debtor                                                                       Relationship to you

                                                    District                                      When                           Case number, if known
                                                                                                         MM / DD / YYYY



                                          ✔
                                          ❑   No.    Go to line 12.
   11. Do you rent your residence?
                                          ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                     ❑   No. Go to line 12.

                                                     ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                         of this bankruptcy petition.




 Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
Filed 11/11/20                                                                 Case 20-25169                                                                                 Doc 1

  Debtor 1             Joseph                  Duwayne                  Olheiser                                           Case number (if known)
                       First Name              Middle Name               Last Name


  Part 3: Report About Any Businesses You Own as a Sole Proprietor

                                               ✔
                                               ❑   No. Go to Part 4.
   12. Are you a sole proprietor of any
       full- or part-time business?            ❑   Yes. Name and location of business

       A sole proprietorship is a business
       you operate as an individual, and is        Name of business, if any
       not a separate legal entity such as
       a corporation, partnership, or LLC.
                                                   Number           Street
       If you have more than one sole
       proprietorship, use a separate
       sheet and attach it to this petition.

                                                   City                                                       State         ZIP Code

                                                   Check the appropriate box to describe your business:

                                                   ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                   ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                   ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                   ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                   ❑      None of the above




                                               If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
   13. Are you filing under Chapter 11         under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
       of the Bankruptcy Code, and             choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
       are you a small business debtor         statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       or a debtor as defined by 11
       U.S. C. § 1182(1)?                      ✔
                                               ❑   No.        I am not filing under Chapter 11.

       For a definition of small business      ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
       debtor, see 11 U.S.C. § 101(51D).                      Bankruptcy Code.

                                               ❑   Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                              Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               ❑   Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code,
                                                              and I choose to proceed under Subchapter V of Chapter 11.


  Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

   14. Do you own or have any                  ✔
                                               ❑   No.
       property that poses or is
       alleged to pose a threat of             ❑   Yes.     What is the hazard?
       imminent and identifiable
       hazard to public health or
       safety? Or do you own any
       property that needs immediate
       attention?                                           If immediate attention is needed, why is it needed?
       For example, do you own
       perishable goods, or livestock that
       must be fed, or a building that
       needs urgent repairs?
                                                            Where is the property?
                                                                                     Number          Street




                                                                                       City                                                State               ZIP Code



 Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 4
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  Debtor 1            Joseph               Duwayne                    Olheiser                                           Case number (if known)
                      First Name            Middle Name                Last Name


  Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


   15. Tell the court whether you          About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
       have received a briefing
       about credit counseling.

       The law requires that you           You must check one:                                                  You must check one:
       receive a briefing about credit
       counseling before you file for      ✔
                                           ❑    I received a briefing from an approved credit counseling        ❑    I received a briefing from an approved credit counseling
       bankruptcy. You must truthfully          agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I filed this bankruptcy
       check one of the following               petition, and I received a certificate of completion.                petition, and I received a certificate of completion.
       choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if            Attach a copy of the certificate and the payment plan, if
       are not eligible to file.                any, that you developed with the agency.                             any, that you developed with the agency.

       If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling        ❑    I received a briefing from an approved credit counseling
       dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy            agency within the 180 days before I filed this bankruptcy
       whatever filing fee you paid, and        petition, but I do not have a certificate of completion.             petition, but I do not have a certificate of completion.
       your creditors can begin                 Within 14 days after you file this bankruptcy petition, you          Within 14 days after you file this bankruptcy petition, you
       collection activities again.             MUST file a copy of the certificate and payment plan, if             MUST file a copy of the certificate and payment plan, if
                                                any.                                                                 any.

                                           ❑    I certify that I asked for credit counseling services from an   ❑    I certify that I asked for credit counseling services from an
                                                approved agency, but was unable to obtain those services             approved agency, but was unable to obtain those services
                                                during the 7 days after I made my request, and exigent               during the 7 days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver of the                 circumstances merit a 30-day temporary waiver of the
                                                requirement.                                                         requirement.
                                                To ask for a 30-day temporary waiver of the requirement,             To ask for a 30-day temporary waiver of the requirement,
                                                attach a separate sheet explaining what efforts you made             attach a separate sheet explaining what efforts you made
                                                to obtain the briefing, why you were unable to obtain it             to obtain the briefing, why you were unable to obtain it
                                                before you filed for bankruptcy, and what exigent                    before you filed for bankruptcy, and what exigent
                                                circumstances required you to file this case.                        circumstances required you to file this case.

                                                Your case may be dismissed if the court is dissatisfied              Your case may be dismissed if the court is dissatisfied
                                                with your reasons for not receiving a briefing before you            with your reasons for not receiving a briefing before you
                                                filed for bankruptcy.                                                filed for bankruptcy.

                                                If the court is satisfied with your reasons, you must still          If the court is satisfied with your reasons, you must still
                                                receive a briefing within 30 days after you file.                    receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved agency,                You must file a certificate from the approved agency,
                                                along with a copy of the payment plan you developed, if              along with a copy of the payment plan you developed, if
                                                any. If you do not do so, your case may be dismissed.                any. If you do not do so, your case may be dismissed.

                                                Any extension of the 30-day deadline is granted only for             Any extension of the 30-day deadline is granted only for
                                                cause and is limited to a maximum of 15 days.                        cause and is limited to a maximum of 15 days.

                                           ❑    I am not required to receive a briefing about credit            ❑    I am not required to receive a briefing about credit
                                                counseling because of:                                               counseling because of:
                                                ❑    Incapacity. I have a mental illness or a mental                 ❑    Incapacity. I have a mental illness or a mental
                                                                 deficiency that makes me incapable                                   deficiency that makes me incapable
                                                                 of realizing or making rational                                      of realizing or making rational
                                                                 decisions about finances.                                            decisions about finances.
                                                ❑    Disability.   My physical disability causes me to               ❑    Disability.   My physical disability causes me to
                                                                   be unable to participate in a briefing                               be unable to participate in a briefing
                                                                   in person, by phone, or through the                                  in person, by phone, or through the
                                                                   internet, even after I reasonably tried                              internet, even after I reasonably tried
                                                                   to do so.                                                            to do so.
                                                ❑    Active duty. I am currently on active military duty in          ❑    Active duty. I am currently on active military duty in
                                                                  a military combat zone.                                              a military combat zone.

                                                If you believe you are not required to receive a briefing            If you believe you are not required to receive a briefing
                                                about credit counseling, you must file a motion for waiver           about credit counseling, you must file a motion for waiver
                                                of credit counseling with the court.                                 of credit counseling with the court.




 Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 5
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Filed 11/11/20                                                            Case 20-25169                                                                                   Doc 1

  Debtor 1            Joseph                 Duwayne                Olheiser                                           Case number (if known)
                      First Name             Middle Name             Last Name



    For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
    represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                              which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
    If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
    attorney, you do not need to file this    filed with the petition is incorrect.
    page.

                                               ✘    /s/ Jen Lee                                                         Date 11/11/2020
                                                                                                                              MM / DD / YYYY
                                                   Signature of Attorney for Debtor



                                                  Jen Lee
                                                  Printed name

                                                   Jen Lee Law
                                                   Firm name

                                                   111 Deerwood Rd Ste 200
                                                   Number      Street



                                                   San Ramon                                                           CA      94583
                                                   City                                                               State    ZIP Code



                                                   Contact phone (925) 586-6738                       Email address jen@jenleelaw.com


                                                  270012                                                               CA
                                                  Bar number                                                          State




 Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
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  Debtor 1            Joseph               Duwayne                 Olheiser                                         Case number (if known)
                      First Name           Middle Name             Last Name


  Additional Items: Continuation Page

                                                                  Joseph                                                             Olheiser
   2.   All other names you have used in the last 8 years
                                                                 First name                          Middle name                    Last name
        (cont.)

        Include your married or maiden names.




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                                                          Certificate Number: 17082-CAE-CC-035071972


                                                                         17082-CAE-CC-035071972




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on November 10, 2020, at 9:43 o'clock AM MST, JOE
           OLHEISER received from Summit Financial Education, Inc., an agency approved
           pursuant to 11 U.S.C. 111 to provide credit counseling in the Eastern District of
           California, an individual [or group] briefing that complied with the provisions of
           11 U.S.C. 109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   November 10, 2020                      By:      /s/Denis L Escamilla De Garcia


                                                          Name: Denis L Escamilla De Garcia


                                                          Title:   Certified Credit Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Filed 11/11/20                                                                                      Case 20-25169                                                                                                 Doc 1

  Fill in this information to identify your case and this filing:

   Debtor 1                          Joseph                       Duwayne                    Olheiser
                                    First Name                   Middle Name                Last Name

   Debtor 2
   (Spouse, if filing)              First Name                   Middle Name                Last Name

   United States Bankruptcy Court for the:                                          Eastern District of California
                                                                                                                                                                                    ❑   Check if this is an
   Case number                                                                                                                                                                          amended filing


 Official Form 106A/B
 Schedule A/B: Property                                                                                                                                                                                          12/15
 In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
 fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
 space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

  1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
       ❑ No. Go to Part 2.
       ✔ Yes. Where is the property?
       ❑
       1.1     2052 Bates Circle                                               What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
               Street address, if available, or other
               description
                                                                              ✔ Single-family home
                                                                              ❑                                                                             amount of any secured claims on Schedule D: Creditors

                                                                              ❑ Duplex or multi-unit building
                                                                                                                                                            Who Have Claims Secured by Property.

                                                                              ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                              ❑ Manufactured or mobile home                                               entire property?                portion you own?
               El Dorado Hills, CA 95762                                      ❑ Land                                                                                    $540,000.00                    $540,000.00
               City                               State        ZIP Code       ❑ Investment property
                                                                              ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                          as fee simple, tenancy by the entireties, or a life
                                                                              ❑ Other                                                                     estate), if known.
               County
                                                                               Who has an interest in the property? Check one.
                                                                                                                                                            Fee Simple
                                                                              ✔ Debtor 1 only
                                                                              ❑
                                                                              ❑ Debtor 2 only
                                                                              ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                                                                                                               (see instructions)
                                                                              ❑ At least one of the debtors and another
                                                                              Other information you wish to add about this item, such as local property identification number:
                                                                              FMV=$600,000, minus costs of sale and expenses ($60,000) for a schedule value of $540,000
  2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $540,000.00




 Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
Filed 11/11/20                                                                                      Case 20-25169                                                                                              Doc 1

  Debtor 1                  Joseph                        Duwayne                          Olheiser                                                            Case number (if known)
                            First Name                    Middle Name                       Last Name




  Part 2: Describe Your Vehicles



  Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
  you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Acura                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the

                                                   MDX
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Debtor 2 only
             Model:                                                                                                                                          Who Have Claims Secured by Property.


             Year:
                                                   2019                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the

                                                   10,000
                                                                             ❑ At least one of the debtors and another                                     entire property?             portion you own?
             Approximate mileage:                                                                                                                                             $0.00                       $0.00

             Other information:                                              ❑Check if this is community property (see
                                                                                 instructions)
             Lease - No Equity




  4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes
  5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                  ➜                  $0.00




  Part 3: Describe Your Personal and Household Items

   Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

  6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Various household furnishings including couches, tables, bed and other miscellaneous items
                                                                                                                                                                                                        $200.00

  7. Electronics
       Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                       electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                TVs, computers                                                                                                                                          $100.00


  8. Collectibles of value
       Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 Official Form 106A/B                                                                                    Schedule A/B: Property                                                                      page 2
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  Debtor 1                      Joseph                             Duwayne                               Olheiser                                                                    Case number (if known)
                                First Name                         Middle Name                            Last Name



  9. Equipment for sports and hobbies
        Examples:          Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                           carpentry tools; musical instruments

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                       Golf clubs and bicycle                                                                                                                                                $100.00



  10.    Firearms
         Examples:           Pistols, rifles, shotguns, ammunition, and related equipment
         ✔ No
         ❑
         ❑ Yes. Describe........

  11.    Clothes
         Examples:           Everyday clothes, furs, leather coats, designer wear, shoes, accessories

         ❑ No
         ✔ Yes. Describe........
         ❑
                                                       Various men's clothing                                                                                                                                                $250.00



  12.    Jewelry
         Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
         ✔ No
         ❑
         ❑ Yes. Describe........


  13.    Non-farm animals
         Examples:           Dogs, cats, birds, horses
         ✔ No
         ❑
         ❑ Yes. Describe........

  14.    Any other personal and household items you did not already list, including any health aids you did not list

         ✔ No
         ❑
         ❑ Yes. Describe........

  15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here........................................................................................................................................➜                                        $650.00




  Part 4: Describe Your Financial Assets

   Do you own or have any legal or equitable interest in any of the following?                                                                                                                                Current value of the
                                                                                                                                                                                                              portion you own?
                                                                                                                                                                                                              Do not deduct secured
                                                                                                                                                                                                              claims or exemptions.


  16.    Cash
         Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
         ✔ No
         ❑
         ❑ Yes........................................................................................................................................................   Cash..............



 Official Form 106A/B                                                                                                     Schedule A/B: Property                                                                          page 3
Filed 11/11/20                                                                  Case 20-25169                                                                     Doc 1

  Debtor 1                 Joseph                Duwayne                  Olheiser                                          Case number (if known)
                           First Name            Middle Name              Last Name



  17.   Deposits of money
        Examples:        Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                         similar institutions. If you have multiple accounts with the same institution, list each.

        ❑ No
        ✔ Yes..................
        ❑
                                                Institution name:



        17.1. Checking account:                  Chase #0692                                                                         $1,000.00


        17.2. Checking account:


        17.3. Savings account:                   Chase #0883                                                                         $1,230.00


        17.4. Savings account:                   Chase # 2105                                                                          $357.64


        17.5. Certificates of deposit:


        17.6. Other financial account:


        17.7. Other financial account:


        17.8. Other financial account:


        17.9. Other financial account:


  18.   Bonds, mutual funds, or publicly traded stocks
        Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
        ✔ No
        ❑
        ❑ Yes..................
        Institution or issuer name:




  19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture

        ✔ No
        ❑
        ❑ Yes. Give specific
             information about
             them...................

        Name of entity:                                                                     % of ownership:




 Official Form 106A/B                                                                Schedule A/B: Property                                              page 4
Filed 11/11/20                                                                  Case 20-25169                                                                 Doc 1

  Debtor 1                 Joseph                      Duwayne           Olheiser                                           Case number (if known)
                           First Name                  Middle Name        Last Name



  20.   Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        ✔ No
        ❑
        ❑ Yes. Give specific
             information about
             them...................

        Issuer name:




  21.   Retirement or pension accounts
        Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

        ❑ No
        ✔ Yes. List each account
        ❑
             separately.
        Type of account:                     Institution name:

        IRA:                                 RBC                                                                                   $40,000.00

  22.   Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
        others
        ✔ No
        ❑
        ❑ Yes.....................
                                       Institution name or individual:

        Electric:


        Gas:


        Heating oil:


        Security deposit on rental unit:


        Prepaid rent:


        Telephone:


        Water:


        Rented furniture:


        Other:


  23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

        ✔ No
        ❑
        ❑ Yes.....................

 Official Form 106A/B                                                               Schedule A/B: Property                                           page 5
Filed 11/11/20                                                                 Case 20-25169                                                                          Doc 1

  Debtor 1                 Joseph               Duwayne                 Olheiser                                         Case number (if known)
                           First Name            Middle Name             Last Name



        Issuer name and description:




  24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        ✔ No
        ❑
        ❑ Yes.....................
        Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




  25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
        benefit

        ✔ No
        ❑
        ❑ Yes. Give specific
             information about them....


  26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
        ✔ No
        ❑
        ❑ Yes. Give specific
             information about them....


  27.   Licenses, franchises, and other general intangibles
        Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                        professional licenses
        ✔ No
        ❑
        ❑ Yes. Give specific
             information about them....


  Money or property owed to you?                                                                                                                  Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.


  28.   Tax refunds owed to you

        ✔ No
        ❑
        ❑ Yes.      Give specific information about                                                                        Federal:
                    them, including whether you
                    already filed the returns and the                                                                      State:
                    tax years.......................
                                                                                                                           Local:



  29.   Family support
        Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement




 Official Form 106A/B                                                              Schedule A/B: Property                                                    page 6
Filed 11/11/20                                                                  Case 20-25169                                                                                    Doc 1

  Debtor 1              Joseph                   Duwayne                 Olheiser                                             Case number (if known)
                        First Name               Middle Name              Last Name



        ✔ No
        ❑
        ❑ Yes.    Give specific information..........
                                                                                                                                 Alimony:

                                                                                                                                   Maintenance:

                                                                                                                                 Support:

                                                                                                                                   Divorce settlement:

                                                                                                                                 Property settlement:


  30.   Other amounts someone owes you
        Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                      Security benefits; unpaid loans you made to someone else
        ✔ No
        ❑
        ❑ Yes.    Give specific information..........




  31.   Interests in insurance policies
        Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        ✔ No
        ❑
        ❑ Yes.    Name the insurance company
                                                            Company name:                                           Beneficiary:                         Surrender or refund value:
                  of each policy and list its value....




  32.   Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
        because someone has died.
        ✔ No
        ❑
        ❑ Yes.    Give specific information..........




  33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples:     Accidents, employment disputes, insurance claims, or rights to sue
        ✔ No
        ❑
        ❑ Yes.    Describe each claim................




  34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
        to set off claims

        ✔ No
        ❑
        ❑ Yes.    Describe each claim................




  35.   Any financial assets you did not already list

        ✔ No
        ❑
        ❑ Yes.    Give specific information..........




 Official Form 106A/B                                                               Schedule A/B: Property                                                              page 7
Filed 11/11/20                                                                                        Case 20-25169                                                                                             Doc 1

  Debtor 1                  Joseph                         Duwayne                           Olheiser                                                              Case number (if known)
                            First Name                      Middle Name                       Last Name



  36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here..................................................................................................................................➜                          $42,587.64



  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37.   Do you own or have any legal or equitable interest in any business-related property?
        ✔No. Go to Part 6.
        ❑
        ❑Yes. Go to line 38.
                                                                                                                                                                                            Current value of the
                                                                                                                                                                                            portion you own?
                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                            claims or exemptions.

  38.   Accounts receivable or commissions you already earned

        ✔ No
        ❑
        ❑ Yes. Describe........

  39.   Office equipment, furnishings, and supplies
        Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        ✔ No
        ❑
        ❑ Yes. Describe........

  40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        ✔ No
        ❑
        ❑ Yes. Describe........

  41.   Inventory

        ✔ No
        ❑
        ❑ Yes. Describe........

  42.   Interests in partnerships or joint ventures

        ✔ No
        ❑
        ❑ Yes. Describe........
        Name of entity:                                                                                               % of ownership:

                                                                                                                                             %


  43.   Customer lists, mailing lists, or other compilations
        ✔ No
        ❑
        ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ✔ No
                ❑
                ❑ Yes. Describe........




 Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 8
Filed 11/11/20                                                                                        Case 20-25169                                                                                             Doc 1

  Debtor 1                  Joseph                          Duwayne                           Olheiser                                                             Case number (if known)
                            First Name                      Middle Name                       Last Name



  44.   Any business-related property you did not already list

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.........




  45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
        for Part 5. Write that number here.................................................................................................................................➜                                $0.00



  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.

  46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        ✔No. Go to Part 7.
        ❑
        ❑Yes. Go to line 47.
                                                                                                                                                                                            Current value of the
                                                                                                                                                                                            portion you own?
                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                            claims or exemptions.

  47.   Farm animals
        Examples:         Livestock, poultry, farm-raised fish
        ✔ No
        ❑
        ❑ Yes.........................

  48.   Crops—either growing or harvested

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.............


  49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

        ✔ No
        ❑
        ❑ Yes..........................


  50.   Farm and fishing supplies, chemicals, and feed

        ✔ No
        ❑
        ❑ Yes..........................


  51.   Any farm- and commercial fishing-related property you did not already list

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.............



  52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
        for Part 6. Write that number here...................................................................................................................................➜                              $0.00




 Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 9
Filed 11/11/20                                                                                             Case 20-25169                                                                                        Doc 1

  Debtor 1                   Joseph                           Duwayne                             Olheiser                                                                Case number (if known)
                             First Name                       Middle Name                          Last Name




  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


  53.   Do you have other property of any kind you did not already list?
        Examples:          Season tickets, country club membership
        ✔ No
        ❑
        ❑ Yes. Give specific
             information.............




  54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                              $0.00



  Part 8: List the Totals of Each Part of this Form

  55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                 $540,000.00


  56.   Part 2: Total vehicles, line 5                                                                                                $0.00


  57.   Part 3: Total personal and household items, line 15                                                                        $650.00


  58.   Part 4: Total financial assets, line 36                                                                               $42,587.64


  59.   Part 5: Total business-related property, line 45                                                                              $0.00


  60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


  61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


  62.   Total personal property. Add lines 56 through 61..............                                                        $43,237.64             Copy personal property total➜          +      $43,237.64




  63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                $583,237.64




 Official Form 106A/B                                                                                            Schedule A/B: Property                                                               page 10
Filed 11/11/20                                                                Case 20-25169                                                                           Doc 1

  Fill in this information to identify your case:

   Debtor 1                    Joseph               Duwayne             Olheiser
                               First Name           Middle Name         Last Name

   Debtor 2
   (Spouse, if filing)         First Name           Middle Name         Last Name

   United States Bankruptcy Court for the:                        Eastern District of California

   Case number                                                                                                                         ❑    Check if this is an
   (if known)                                                                                                                               amended filing


 Official Form 106C
 Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
 property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
 attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

 For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
 exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
 exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
 claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
 exceed that amount, your exemption would be limited to the applicable statutory amount.


  Part 1: Identify the Property You Claim as Exempt

       Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
  1.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
  2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

  Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
  Schedule A/B that lists this property                       portion you own
                                                              Copy the value from         Check only one box for each exemption.
                                                              Schedule A/B

                                                                                          ✔
  Brief description:
  2052 Bates Circle El Dorado Hills, CA 95762                             $540,000.00
                                                                                          ❑                 $75,000.00             C.C.P. § 704.730
                                                                                          ❑    100% of fair market value, up to
  Line from                                                                                    any applicable statutory limit
  Schedule A/B:          1.1


                                                                                          ✔
  Brief description:
  Various household furnishings including couches,                             $200.00
                                                                                          ❑                  $200.00               C.C.P. § 704.020

  tables, bed and other miscellaneous items                                               ❑    100% of fair market value, up to
                                                                                               any applicable statutory limit
  Line from
  Schedule A/B:           6


  3.   Are you claiming a homestead exemption of more than $170,350?
       (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          ❑ No
          ❑ Yes



 Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
Filed 11/11/20                                                         Case 20-25169                                                                         Doc 1

  Debtor 1             Joseph              Duwayne               Olheiser                                        Case number (if known)
                       First Name          Middle Name            Last Name


  Part 2: Additional Page

  Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
  Schedule A/B that lists this property                  portion you own
                                                         Copy the value from      Check only one box for each exemption.
                                                         Schedule A/B

                                                                                  ✔
  Brief description:
  TVs, computers                                                        $100.00
                                                                                  ❑                 $100.00                  C.C.P. § 704.020
                                                                                  ❑   100% of fair market value, up to
  Line from                                                                           any applicable statutory limit
  Schedule A/B:         7


                                                                                  ✔
  Brief description:
  Golf clubs and bicycle                                                $100.00
                                                                                  ❑                 $100.00                  C.C.P. § 704.020
                                                                                  ❑   100% of fair market value, up to
  Line from                                                                           any applicable statutory limit
  Schedule A/B:         9


                                                                                  ✔
  Brief description:
  Various men's clothing                                                $250.00
                                                                                  ❑                 $250.00                  C.C.P. § 704.020
                                                                                  ❑   100% of fair market value, up to
  Line from                                                                           any applicable statutory limit
  Schedule A/B:        11


                                                                                  ✔
  Brief description:
  Chase #0692                                                         $1,000.00
                                                                                  ❑                 $750.00                  C.C.P. § 704.070

  Checking account                                                                ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
  Line from
  Schedule A/B:        17


                                                                                  ✔
  Brief description:
  Chase #0883                                                         $1,230.00
                                                                                  ❑                $1,230.00                 C.C.P. § 704.225

  Savings account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
  Line from
  Schedule A/B:        17


                                                                                  ✔
  Brief description:
  RBC                                                                $40,000.00
                                                                                  ❑               $40,000.00                 C.C.P. § 704.115(b)
                                                                                  ❑   100% of fair market value, up to
  Line from                                                                           any applicable statutory limit
  Schedule A/B:        21




 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                  page 2 of 2
Filed 11/11/20                                                                        Case 20-25169                                                                                    Doc 1

  Fill in this information to identify your case:

   Debtor 1                       Joseph                  Duwayne               Olheiser
                                  First Name              Middle Name          Last Name

   Debtor 2
   (Spouse, if filing)            First Name              Middle Name          Last Name

   United States Bankruptcy Court for the:                              Eastern District of California

   Case number                                                                                                                                           ❑    Check if this is an
   (if known)                                                                                                                                                 amended filing


 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                            12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
 needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
 known).
 1. Do any creditors have claims secured by your property?
       ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔Yes. Fill in all of the information below.
       ❑
  Part 1: List All Secured Claims

  2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A               Column B              Column C
         each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim        Value of collateral   Unsecured
         as possible, list the claims in alphabetical order according to the creditor’s name.                                Do not deduct the      that supports         portion
                                                                                                                             value of collateral.   this claim            If any
  2.1 Bayview Loan Servicing LLC                              Describe the property that secures the claim:                         $302,000.00           $540,000.00                 $0.00
         Creditor's Name
                                                               2052 Bates Circle El Dorado Hills, CA 95762
          4425 Ponce Del Leon Blvd
         Number          Street
          Miami, FL 33146                                     As of the date you file, the claim is: Check all that apply.
         City                      State       ZIP Code       ❑Contingent
         Who owes the debt? Check one.                        ❑Unliquidated
         ✔ Debtor 1 only
         ❑                                                    ❑Disputed
         ❑Debtor 2 only                                       Nature of lien. Check all that apply.
         ❑Debtor 1 and Debtor 2 only                          ✔An agreement you made (such as mortgage or
                                                              ❑
         ❑At least one of the debtors and another                secured car loan)
         ❑Check if this claim relates to a                    ❑Statutory lien (such as tax lien, mechanic's lien)
            community debt
                                                              ❑Judgment lien from a lawsuit
         Date debt was incurred                               ❑Other (including a right to offset)
                                                              Last 4 digits of account number

          Add the dollar value of your entries in Column A on this page. Write that number here:                                           $302,000.00




 Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
Filed 11/11/20                                                                Case 20-25169                                                                                     Doc 1

  Debtor 1              Joseph              Duwayne                    Olheiser                                              Case number (if known)
                        First Name          Middle Name                Last Name


                                                                                                                     Column A               Column B              Column C
               Additional Page
                                                                                                                     Amount of claim        Value of collateral   Unsecured
   Part 1:     After listing any entries on this page, number them beginning with                                    Do not deduct the      that supports         portion
               2.3, followed by 2.4, and so forth.                                                                   value of collateral.   this claim            If any



  2.2 Cenlar                                          Describe the property that secures the claim:                          $64,000.00           $540,000.00                   $0.00
      Creditor's Name
                                                       2052 Bates Circle El Dorado Hills, CA 95762
       P O Box 77404
      Number          Street
       Trenton, NJ 08628                              As of the date you file, the claim is: Check all that apply.
      City                     State   ZIP Code       ❑Contingent
      Who owes the debt? Check one.                   ❑Unliquidated
      ✔ Debtor 1 only
      ❑                                               ❑Disputed
      ❑Debtor 2 only                                  Nature of lien. Check all that apply.
      ❑Debtor 1 and Debtor 2 only                     ✔An agreement you made (such as mortgage or
                                                      ❑
      ❑At least one of the debtors and another           secured car loan)
      ❑Check if this claim relates to a               ❑Statutory lien (such as tax lien, mechanic's lien)
         community debt
                                                      ❑Judgment lien from a lawsuit
      Date debt was incurred                          ❑Other (including a right to offset)
                                                      Last 4 digits of account number




       Add the dollar value of your entries in Column A on this page. Write that number here:                                       $64,000.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                        $366,000.00
       here:




 Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Filed 11/11/20                                                               Case 20-25169                                                                                     Doc 1

  Fill in this information to identify your case:

   Debtor 1                   Joseph                Duwayne             Olheiser
                              First Name            Middle Name         Last Name

   Debtor 2
   (Spouse, if filing)        First Name            Middle Name         Last Name

   United States Bankruptcy Court for the:                        Eastern District of California

   Case number                                                                                                                               ❑    Check if this is an
   (if known)                                                                                                                                     amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
 any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
 Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
 D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
 the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

  Part 1: List All of Your PRIORITY Unsecured Claims

   1. Do any creditors have priority unsecured claims against you?
      ❑ No. Go to Part 2.
      ✔ Yes.
      ❑
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                   Total       Priority          Nonpriority
                                                                                                                                   claim       amount            amount

 2.1      Franchise Tax Board                                                                                                       $16,480.00      $16,480.00              $0.00
                                                                      Last 4 digits of account number
         Priority Creditor's Name
                                                                      When was the debt incurred? 2018
          Bankruptcy Section MS A-340
                                                                      As of the date you file, the claim is: Check all that
          PO Box 2952                                                 apply.
         Number           Street                                      ❑ Contingent
          Sacramento, CA 95812                                        ❑ Unliquidated
         City                               State   ZIP Code          ❑ Disputed
         Who incurred the debt? Check one.                            Type of PRIORITY unsecured claim:
         ✔ Debtor 1 only
         ❑                                                            ❑ Domestic support obligations
         ❑ Debtor 2 only                                              ✔ Taxes and certain other debts you owe the
                                                                      ❑
         ❑ Debtor 1 and Debtor 2 only                                     government
         ❑ At least one of the debtors and another                    ❑ Claims for death or personal injury while you were
         ❑ Check if this claim is for a community debt                    intoxicated
         Is the claim subject to offset?
                                                                      ❑ Other. Specify
         ✔ No
         ❑
         ❑ Yes
 2.2      Internal Revenue Service                                                                                                  $49,230.00      $49,230.00              $0.00
                                                                      Last 4 digits of account number
         Priority Creditor's Name
                                                                      When was the debt incurred? 2018
          PO Box 7346
                                                                      As of the date you file, the claim is: Check all that
         Number           Street
                                                                      apply.
          Philadelphia, PA 19101                                      ❑ Contingent
         City                               State   ZIP Code
                                                                      ❑ Unliquidated
         Who incurred the debt? Check one.                            ❑ Disputed
         ✔ Debtor 1 only
         ❑
         ❑ Debtor 2 only                                              Type of PRIORITY unsecured claim:
                                                                      ❑ Domestic support obligations
         ❑ Debtor 1 and Debtor 2 only                                 ✔ Taxes and certain other debts you owe the
                                                                      ❑
         ❑ At least one of the debtors and another                        government
         ❑ Check if this claim is for a community debt                ❑ Claims for death or personal injury while you were
          Is the claim subject to offset?                                 intoxicated
          ❑✔ No                                                       ❑ Other. Specify
          ❑ Yes
 Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
Filed 11/11/20                                                                 Case 20-25169                                                                                      Doc 1

  Debtor 1              Joseph                 Duwayne                   Olheiser                                            Case number (if known)
                        First Name              Middle Name              Last Name

  Part 2: List All of Your NONPRIORITY Unsecured Claims

   3. Do any creditors have nonpriority unsecured claims against you?
       ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       ✔
       ❑     Yes.
   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                              Total claim

 4.1     Albert & Will LLP                                                                                                                                                    $0.00
                                                                                    Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                    When was the debt incurred?
         2601 Airport Dr Ste 345
         Number           Street                                                    As of the date you file, the claim is: Check all that apply.
         Torrance, CA 90505
                                                                                    ✔ Contingent
                                                                                    ❑
         City                              State     ZIP Code                       ✔ Unliquidated
                                                                                    ❑
         Who incurred the debt? Check one.                                          ✔ Disputed
                                                                                    ❑
         ✔
         ❑ Debtor 1 only                                                            Type of NONPRIORITY unsecured claim:
         ❑ Debtor 2 only                                                            ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or
         ❑ At least one of the debtors and another                                      divorce that you did not report as priority claims
         ❑ Check if this claim is for a community debt                              ❑ Debts to pension or profit-sharing plans, and other
                                                                                        similar debts
         Is the claim subject to offset?                                            ✔ Other. Specify
                                                                                    ❑
         ✔ No
         ❑                                                                              Collection Agency
         ❑ Yes
 4.2     American Express                                                                                                                                             $12,357.00
                                                                                    Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                    When was the debt incurred?
         PO Box 981537
         Number           Street                                                    As of the date you file, the claim is: Check all that apply.
         El Paso, TX 79998                                                          ❑ Contingent
         City                              State     ZIP Code                       ❑ Unliquidated
         Who incurred the debt? Check one.                                          ❑ Disputed
         ✔ Debtor 1 only
         ❑                                                                          Type of NONPRIORITY unsecured claim:
         ❑ Debtor 2 only                                                            ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or
         ❑ At least one of the debtors and another                                      divorce that you did not report as priority claims
         ❑ Check if this claim is for a community debt                              ❑ Debts to pension or profit-sharing plans, and other
                                                                                        similar debts
         Is the claim subject to offset?                                            ✔ Other. Specify
                                                                                    ❑
         ✔ No
         ❑                                                                              Credit Card
         ❑ Yes
 4.3     American Express                                                                                                                                             $13,960.00
                                                                                    Last 4 digits of account number
         Nonpriority Creditor's Name
                                                                                    When was the debt incurred?
         PO Box 981537
         Number           Street                                                    As of the date you file, the claim is: Check all that apply.
         El Paso, TX 79998                                                          ❑ Contingent
         City                              State     ZIP Code                       ❑ Unliquidated
         Who incurred the debt? Check one.                                          ❑ Disputed
         ✔ Debtor 1 only
         ❑                                                                          Type of NONPRIORITY unsecured claim:
         ❑ Debtor 2 only                                                            ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or
         ❑ At least one of the debtors and another                                      divorce that you did not report as priority claims
         ❑ Check if this claim is for a community debt                              ❑ Debts to pension or profit-sharing plans, and other
                                                                                        similar debts
         Is the claim subject to offset?                                            ✔ Other. Specify
                                                                                    ❑
         ✔ No
         ❑                                                                              Credit Card
         ❑ Yes



 Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 6
Filed 11/11/20                                                            Case 20-25169                                                                               Doc 1


  Debtor 1              Joseph                 Duwayne               Olheiser                                            Case number (if known)
                        First Name             Middle Name           Last Name

  Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

   After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


 4.4     American Express                                                                                                                                   $5,182.00
                                                                                Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                When was the debt incurred?
         PO Box 981537
        Number           Street                                                 As of the date you file, the claim is: Check all that apply.
         El Paso, TX 79998                                                      ❑   Contingent
        City                              State     ZIP Code                    ❑   Unliquidated
        Who incurred the debt? Check one.                                       ❑   Disputed
        ✔
        ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
        ❑      Debtor 2 only                                                    ❑   Student loans
        ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
        ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
        ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
        Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
        ✔
        ❑      No
                                                                                    Other. Specify
                                                                                    Credit Card
        ❑      Yes
 4.5     Capital One                                                                                                                                        $2,470.00
                                                                                Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                When was the debt incurred?
         PO Box 30285
        Number           Street                                                 As of the date you file, the claim is: Check all that apply.
         Salt Lake City, UT 84130                                               ❑   Contingent
        City                              State     ZIP Code                    ❑   Unliquidated
        Who incurred the debt? Check one.                                       ❑   Disputed
        ✔
        ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
        ❑      Debtor 2 only                                                    ❑   Student loans
        ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
        ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
        ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
        Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
        ✔
        ❑      No
                                                                                    Other. Specify
                                                                                    Credit Card
        ❑      Yes
 4.6     Chase                                                                                                                                             $17,551.00
                                                                                Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                When was the debt incurred?
         PO Box 15298
        Number           Street                                                 As of the date you file, the claim is: Check all that apply.
         Wilmington, DE 19850                                                   ❑   Contingent
        City                              State     ZIP Code                    ❑   Unliquidated
        Who incurred the debt? Check one.                                       ❑   Disputed
        ✔
        ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
        ❑      Debtor 2 only                                                    ❑   Student loans
        ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
        ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
        ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
        Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
        ✔
        ❑      No
                                                                                    Other. Specify
                                                                                    Credit Card
        ❑      Yes




 Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 3 of 6
Filed 11/11/20                                                            Case 20-25169                                                                               Doc 1


  Debtor 1              Joseph                 Duwayne               Olheiser                                            Case number (if known)
                        First Name             Middle Name           Last Name

  Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

   After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


 4.7     Chase                                                                                                                                             $12,391.00
                                                                                Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                When was the debt incurred?
         PO Box 15298
        Number           Street                                                 As of the date you file, the claim is: Check all that apply.
         Wilmington, DE 19850                                                   ❑   Contingent
        City                              State     ZIP Code                    ❑   Unliquidated
        Who incurred the debt? Check one.                                       ❑   Disputed
        ✔
        ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
        ❑      Debtor 2 only                                                    ❑   Student loans
        ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
        ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
        ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
        Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
        ✔
        ❑      No
                                                                                    Other. Specify
                                                                                    Credit Card
        ❑      Yes
 4.8     Citibank                                                                                                                                           $1,800.00
                                                                                Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                When was the debt incurred?
         PO Box 6500
        Number           Street                                                 As of the date you file, the claim is: Check all that apply.
         Sioux Falls, SD 57117                                                  ❑   Contingent
        City                              State     ZIP Code                    ❑   Unliquidated
        Who incurred the debt? Check one.                                       ❑   Disputed
        ✔
        ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
        ❑      Debtor 2 only                                                    ❑   Student loans
        ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
        ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
        ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
        Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
        ✔
        ❑      No
                                                                                    Other. Specify
                                                                                    Credit Card
        ❑      Yes
 4.9     EnerBankUSA                                                                                                                                       $41,640.00
                                                                                Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                When was the debt incurred?
         1245 Brickyard Road
        Number           Street                                                 As of the date you file, the claim is: Check all that apply.
         Salt Lake City, UT 84106                                               ❑   Contingent
        City                              State     ZIP Code                    ❑   Unliquidated
        Who incurred the debt? Check one.                                       ❑   Disputed
        ✔
        ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
        ❑      Debtor 2 only                                                    ❑   Student loans
        ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
        ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
        ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
        Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
        ✔
        ❑      No
                                                                                    Other. Specify
                                                                                    Credit Card
        ❑      Yes




 Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 4 of 6
Filed 11/11/20                                                            Case 20-25169                                                                               Doc 1


  Debtor 1              Joseph                 Duwayne               Olheiser                                            Case number (if known)
                        First Name             Middle Name           Last Name

  Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

   After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                         Total claim


 4.10    Regus                                                                                                                                              $1,985.00
                                                                                Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                When was the debt incurred?
         800 W El Camino Real Ste 180
        Number           Street                                                 As of the date you file, the claim is: Check all that apply.
         Mountain View, CA 94040                                                ❑   Contingent
        City                              State     ZIP Code                    ❑   Unliquidated
        Who incurred the debt? Check one.                                       ❑   Disputed
        ✔
        ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
        ❑      Debtor 2 only                                                    ❑   Student loans
        ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
        ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
        ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
        Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
        ✔
        ❑      No
                                                                                    Other. Specify
                                                                                    Collection Agency
        ❑      Yes
 4.11    Tri Counties Bank                                                                                                                                        $0.00
                                                                                Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                When was the debt incurred?
         3700 Douglas Blvd
        Number           Street                                                 As of the date you file, the claim is: Check all that apply.
         Roseville, CA 95661                                                    ❑   Contingent
        City                              State     ZIP Code                    ❑   Unliquidated
        Who incurred the debt? Check one.                                       ✔
                                                                                ❑   Disputed
        ✔
        ❑      Debtor 1 only                                                    Type of NONPRIORITY unsecured claim:
        ❑      Debtor 2 only                                                    ❑   Student loans
        ❑      Debtor 1 and Debtor 2 only                                       ❑   Obligations arising out of a separation agreement or
        ❑      At least one of the debtors and another                              divorce that you did not report as priority claims
        ❑      Check if this claim is for a community debt                      ❑   Debts to pension or profit-sharing plans, and other
                                                                                    similar debts
        Is the claim subject to offset?
                                                                                ✔
                                                                                ❑
        ✔
        ❑      No
                                                                                    Other. Specify
                                                                                    Notice
        ❑      Yes




 Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 5 of 6
Filed 11/11/20                                                               Case 20-25169                                                                    Doc 1


  Debtor 1              Joseph               Duwayne                Olheiser                                    Case number (if known)
                        First Name           Middle Name             Last Name

  Part 4: Add the Amounts for Each Type of Unsecured Claim

   6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
      type of unsecured claim.




                                                                                             Total claim


                    6a. Domestic support obligations                               6a.                              $0.00
  Total claims
  from Part 1       6b. Taxes and certain other debts you owe the                  6b.                         $65,710.00
                        government

                    6c. Claims for death or personal injury while you              6c.                              $0.00
                        were intoxicated

                    6d. Other. Add all other priority unsecured claims.            6d.   +                          $0.00
                        Write that amount here.

                    6e. Total. Add lines 6a through 6d.                            6e.                          $65,710.00




                                                                                             Total claim


                    6f. Student loans                                              6f.                              $0.00
  Total claims
  from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                        agreement or divorce that you did not report as
                        priority claims

                    6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                        other similar debts

                    6i. Other. Add all other nonpriority unsecured claims.         6i.   +                    $109,336.00
                        Write that amount here.

                    6j. Total. Add lines 6f through 6i.                            6j.                         $109,336.00




 Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 6
Filed 11/11/20                                                                 Case 20-25169                                                                                   Doc 1

  Fill in this information to identify your case:

      Debtor 1                   Joseph               Duwayne             Olheiser
                                 First Name           Middle Name         Last Name

      Debtor 2
      (Spouse, if filing)        First Name           Middle Name         Last Name

      United States Bankruptcy Court for the:                       Eastern District of California

      Case number                                                                                                                             ❑    Check if this is an
      (if known)                                                                                                                                   amended filing


 Official Form 106G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
 needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
 known).

  1.     Do you have any executory contracts or unexpired leases?
         ❑No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         ✔Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
         ❑
 2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
        vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



        Person or company with whom you have the contract or lease                               State what the contract or lease is for

 2.1                                                                                                 Car Lease
         American Honda Finance                                                                      Contract to be ASSUMED
         Name
         2420 Camino Ramon 350
         Number    Street
         San Ramon, CA 94583
         City                                 State   ZIP Code

 2.2

         Name

         Number         Street

         City                                 State   ZIP Code

 2.3

         Name

         Number         Street

         City                                 State   ZIP Code

 2.4

         Name

         Number         Street

         City                                 State   ZIP Code




 Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
Filed 11/11/20                                                                     Case 20-25169                                                                               Doc 1

  Fill in this information to identify your case:

   Debtor 1                        Joseph                  Duwayne            Olheiser
                                  First Name              Middle Name         Last Name

   Debtor 2
   (Spouse, if filing)            First Name              Middle Name         Last Name

   United States Bankruptcy Court for the:                              Eastern District of California

   Case number                                                                                                                               ❑     Check if this is an
   (if known)                                                                                                                                      amended filing


 Official Form 106H
 Schedule H: Your Codebtors                                                                                                                                                  12/15
 Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
 both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
 the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

  1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       ✔ No
       ❑
       ❑Yes
  2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
     Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       ❑No. Go to line 3.
       ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
       ❑
         ✔ No
         ❑
         ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


                Name

                Number          Street

                City                                   State   ZIP Code

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
     codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
     Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:
 3.1                                                                                                             ❑Schedule D, line
       Name
                                                                                                                 ❑Schedule E/F, line
       Number          Street                                                                                    ❑Schedule G, line
       City                                    State     ZIP Code




 Official Form 106H                                                               Schedule H: Your Codebtors                                                             page 1 of 1
Filed 11/11/20                                                                Case 20-25169                                                                                 Doc 1

  Fill in this information to identify your case:

   Debtor 1                   Joseph                 Duwayne             Olheiser
                              First Name             Middle Name         Last Name

   Debtor 2
   (Spouse, if filing)        First Name             Middle Name         Last Name                                                Check if this is:

   United States Bankruptcy Court for the:                         Eastern District of California                                 ❑An amended filing
                                                                                                                                  ❑A supplement showing postpetition
   Case number                                                                                                                         chapter 13 income as of the following date:
   (if known)

                                                                                                                                       MM / DD / YYYY

 Official Form 106I
 Schedule I: Your Income                                                                                                                                                 12/15
 Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
 information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
 spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
 additional pages, write your name and case number (if known). Answer every question.


  Part 1: Describe Employment


  1. Fill in your employment
     information.                                                                   Debtor 1                                        Debtor 2 or non-filing spouse


      If you have more than one job,            Employment status             ✔Employed ❑Not Employed
                                                                              ❑                                                 ❑Employed ❑Not Employed
      attach a separate page with
      information about additional              Occupation                    Financial Advisor
      employers.
                                                Employer's name               Cabot Lodge Securities
      Include part time, seasonal, or
      self-employed work.
                                                Employer's address            200 Vesey St 24th Fl
      Occupation may include student                                           Number Street                                    Number Street
      or homemaker, if it applies.




                                                                              New York, NY 10080
                                                                               City                     State    Zip Code       City                    State      Zip Code
                                                 How long employed there? 6 months



  Part 2: Give Details About Monthly Income


      Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
      are separated.
      If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
      attach a separate sheet to this form.

                                                                                                            For Debtor 1     For Debtor 2 or
                                                                                                                             non-filing spouse

  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions.) If not paid monthly, calculate what the monthly wage would be.               2.               $9,613.25                    $0.00

  3. Estimate and list monthly overtime pay.                                                   3.   +               $0.00   +                $0.00


  4. Calculate gross income. Add line 2 + line 3.                                              4.               $9,613.25                    $0.00




 Official Form 106I                                                             Schedule I: Your Income                                                                 page 1
Filed 11/11/20                                                                                           Case 20-25169                                                                        Doc 1

  Debtor 1                  Joseph                           Duwayne                            Olheiser                                        Case number (if known)
                             First Name                      Middle Name                         Last Name


                                                                                                                                     For Debtor 1       For Debtor 2 or
                                                                                                                                                        non-filing spouse
       Copy line 4 here....................................................................................➔            4.              $9,613.25                   $0.00
  5.   List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00
       5e. Insurance                                                                                                    5e.                $0.00                    $0.00
       5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00
       5g. Union dues                                                                                                   5g.                $0.00                    $0.00

       5h. Other deductions. Specify: Back Office                                                                       5h.   +          $155.00        +           $0.00
  6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.               $155.00                    $0.00
  7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $9,458.25                   $0.00
  8.   List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
             Attach a statement for each property and business showing gross receipts,
             ordinary and necessary business expenses, and the total monthly net income.                                8a.                $0.00                    $0.00
       8b. Interest and dividends                                                                                       8b.                $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a dependent
           regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
       8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
       8e. Social Security                                                                                              8e.                $0.00                    $0.00
       8f. Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                                                   8f.                $0.00                    $0.00
       8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00


  9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                  $0.00                    $0.00

  10. Calculate monthly income. Add line 7 + line 9.
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $9,458.25   +                $0.00        =       $9,458.25

  11. State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                          11. +             $0.00
  12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
      amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $9,458.25
                                                                                                                                                                                  Combined
                                                                                                                                                                                  monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑Yes. Explain:

 Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
Filed 11/11/20                                                                         Case 20-25169                                                                        Doc 1

  Fill in this information to identify your case:

   Debtor 1                   Joseph                   Duwayne                Olheiser
                              First Name              Middle Name            Last Name                                Check if this is:
   Debtor 2                                                                                                           ❑An amended filing
   (Spouse, if filing)        First Name              Middle Name            Last Name                                ❑A supplement showing postpetition
                                                                                                                          chapter 13 income as of the following date:
   United States Bankruptcy Court for the:                            Eastern District of California

   Case number                                                                                                            MM / DD / YYYY
   (if known)



 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                                 12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
 needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

  Part 1: Describe Your Household

  1. Is this a joint case?

      ✔No. Go to line 2.
      ❑
      ❑Yes. Does Debtor 2 live in a separate household?
             ❑No
             ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
  2. Do you have dependents?                        ✔ No
                                                    ❑
      Do not list Debtor 1 and
      Debtor 2.
                                                    ❑Yes. Fill out this information for     Dependent's relationship to
                                                                                            Debtor 1 or Debtor 2
                                                                                                                                 Dependent's
                                                                                                                                 age
                                                                                                                                                     Does dependent live
                                                                                                                                                     with you?
                                                       each dependent...............
      Do not state the dependents' names.
                                                                                                                                                      ❑No. ❑Yes.
                                                                                                                                                      ❑No. ❑Yes.
                                                                                                                                                      ❑No. ❑Yes.
                                                                                                                                                      ❑No. ❑Yes.
                                                                                                                                                      ❑No. ❑Yes.
  3. Do your expenses include expenses              ✔ No
                                                    ❑
     of people other than yourself and
     your dependents?
                                                    ❑Yes


  Part 2: Estimate Your Ongoing Monthly Expenses

  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
  the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

  Include expenses paid for with non-cash government assistance if you know the value of                                                      Your expenses
  such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
     ground or lot.                                                                                                                  4.                      $1,978.00


      If not included in line 4:
                                                                                                                                     4a.                         $0.00
      4a. Real estate taxes
                                                                                                                                     4b.                        $15.00
      4b. Property, homeowner's, or renter's insurance
                                                                                                                                     4c.                       $300.00
      4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                     4d.                         $0.00
      4d. Homeowner's association or condominium dues




 Official Form 106J                                                                      Schedule J: Your Expenses                                                         page 1
Filed 11/11/20                                                               Case 20-25169                                                               Doc 1

  Debtor 1              Joseph                 Duwayne                  Olheiser                               Case number (if known)
                        First Name             Middle Name               Last Name


                                                                                                                               Your expenses

  5.    Additional mortgage payments for your residence, such as home equity loans                                   5.                        $130.00

  6.    Utilities:
        6a. Electricity, heat, natural gas                                                                           6a.                       $150.00

        6b. Water, sewer, garbage collection                                                                         6b.                       $120.00
        6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.                       $400.00

        6d. Other. Specify:                                                                                          6d.                         $0.00

  7.    Food and housekeeping supplies                                                                               7.                        $850.00

  8.    Childcare and children’s education costs                                                                     8.                          $0.00

  9.    Clothing, laundry, and dry cleaning                                                                          9.                         $80.00

  10. Personal care products and services                                                                            10.                        $50.00

  11.   Medical and dental expenses                                                                                  11.                       $100.00

  12. Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                                   12.                       $350.00

  13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.                       $175.00

  14. Charitable contributions and religious donations                                                               14.                         $0.00

  15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                     15a.                        $0.00
        15a. Life insurance
                                                                                                                     15b.                      $280.00
        15b. Health insurance
        15c. Vehicle insurance                                                                                       15c.                      $120.00

        15d. Other insurance. Specify:                                                                               15d.                        $0.00

  16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: Self-employment taxes                                                                               16.                   $2,000.00

  17. Installment or lease payments:
                                                                                                                     17a.                      $509.00
        17a. Car payments for Vehicle 1
                                                                                                                     17b.                        $0.00
        17b. Car payments for Vehicle 2
                                                                                                                     17c.                        $0.00
        17c. Other. Specify:
                                                                                                                     17d.                        $0.00
        17d. Other. Specify:

  18. Your payments of alimony, maintenance, and support that you did not report as deducted
      from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                         $0.00

  19. Other payments you make to support others who do not live with you.
        Specify:                                                                                                     19.                         $0.00

  20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                             20a.                        $0.00
        20b. Real estate taxes                                                                                       20b.                        $0.00
        20c. Property, homeowner’s, or renter’s insurance                                                            20c.                        $0.00
        20d. Maintenance, repair, and upkeep expenses                                                                20d.                        $0.00
        20e. Homeowner’s association or condominium dues                                                             20e.                        $0.00




 Official Form 106J                                                                Schedule J: Your Expenses                                             page 2
Filed 11/11/20                                                             Case 20-25169                                                          Doc 1

  Debtor 1              Joseph               Duwayne                 Olheiser                                Case number (if known)
                        First Name           Middle Name              Last Name



  21. Other. Specify:                                                                                              21.     +              $0.00

  22. Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                                22a.               $7,607.00

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

       22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $7,607.00


  23. Calculate your monthly net income.

       23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $9,458.25

       23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $7,607.00

       23c. Subtract your monthly expenses from your monthly income.
                                                                                                                   23c.               $1,851.25
             The result is your monthly net income.



  24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       ✔ No.
       ❑              None
       ❑Yes.




 Official Form 106J                                                             Schedule J: Your Expenses                                         page 3
Filed 11/11/20                                                                                       Case 20-25169                                                                                                     Doc 1

  Fill in this information to identify your case:

   Debtor 1                         Joseph                         Duwayne                    Olheiser
                                   First Name                    Middle Name                 Last Name

   Debtor 2
   (Spouse, if filing)             First Name                    Middle Name                 Last Name

   United States Bankruptcy Court for the:                                          Eastern District of California

   Case number                                                                                                                                                                       ❑      Check if this is an
   (if known)                                                                                                                                                                               amended filing


 Official Form 106Sum
 Summary of Your Assets and Liabilities and Certain Statistical
 Information                                                                                                                                                                                                          12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
 schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
 and check the box at the top of this page.


  Part 1: Summarize Your Assets


                                                                                                                                                                                             Your assets
                                                                                                                                                                                             Value of what you own

  1. Schedule A/B: Property (Official Form 106A/B)
     1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $540,000.00


     1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $43,237.64


     1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $583,237.64



  Part 2: Summarize Your Liabilities



                                                                                                                                                                                             Your liabilities
                                                                                                                                                                                             Amount you owe

  2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $366,000.00

  3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                $65,710.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +              $109,336.00


                                                                                                                                                                   Your total liabilities                    $541,046.00

  Part 3: Summarize Your Income and Expenses

  4. Schedule I: Your Income (Official Form 106I)
     Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $9,458.25


  5. Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $7,607.00




 Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
Filed 11/11/20                                                              Case 20-25169                                                              Doc 1

  Debtor 1            Joseph                 Duwayne                  Olheiser                                            Case number (if known)
                      First Name             Middle Name               Last Name



  Part 4: Answer These Questions for Administrative and Statistical Records



 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
    ❑   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    ✔
    ❑   Yes



 7. What kind of debt do you have?
    ❑   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
    ✔
    ❑   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

      From Part 4 on Schedule E/F, copy the following:


     9a. Domestic support obligations (Copy line 6a.)



     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



     9d. Student loans. (Copy line 6f.)



     9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
        claims. (Copy line 6g.)



     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                        +


     9g. Total. Add lines 9a through 9f.




 Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
Filed 11/11/20   Case 20-25169   Doc 1
Filed 11/11/20                                                               Case 20-25169                                                                            Doc 1

  Fill in this information to identify your case:

   Debtor 1                   Joseph                Duwayne             Olheiser
                              First Name            Middle Name         Last Name

   Debtor 2
   (Spouse, if filing)        First Name            Middle Name         Last Name

   United States Bankruptcy Court for the:                        Eastern District of California

   Case number                                                                                                                          ❑   Check if this is an
   (if known)                                                                                                                               amended filing


 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
 needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




  Part 1: Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

     ❑ Married
     ✔ Not married
     ❑
   2. During the last 3 years, have you lived anywhere other than where you live now?

     ✔ No
     ❑
     ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
       Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                            Dates Debtor 2 lived
                                                               there                                                                           there


                                                                                        ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                             From                                                                            From
     Number      Street                                                                     Number     Street
                                                             To                                                                              To



     City                               State ZIP Code                                      City                       State ZIP Code




                                                                                        ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                             From                                                                            From
     Number      Street                                                                     Number     Street
                                                             To                                                                              To



     City                               State ZIP Code                                      City                       State ZIP Code




   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
   include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

     ✔ No
     ❑
     ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 1
Filed 11/11/20                                                                Case 20-25169                                                                              Doc 1

 Debtor 1            Joseph               Duwayne                  Olheiser                                            Case number (if known)
                     First Name           Middle Name              Last Name
  Part 2: Explain the Sources of Your Income


   4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
   Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
   If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     ❑ No
     ✔ Yes. Fill in the details.
     ❑
                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross Income                  Sources of income             Gross Income
                                                     Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                   exclusions)                                                 exclusions)


     From January 1 of current year until the
                                                    ✔ Wages, commissions,
                                                    ❑                                                           ❑ Wages, commissions,
                                                        bonuses, tips                         $96,132.52            bonuses, tips
     date you filed for bankruptcy:
                                                    ❑Operating a business                                       ❑Operating a business

     For last calendar year:                        ✔ Wages, commissions,
                                                    ❑                                                           ❑ Wages, commissions,
                                                        bonuses, tips                         $50,720.00            bonuses, tips
     (January 1 to December 31, 2019         )
                                      YYYY          ❑Operating a business                                       ❑Operating a business

     For the calendar year before that:             ✔ Wages, commissions,
                                                    ❑                                                           ❑ Wages, commissions,
                                                        bonuses, tips                        $105,365.00            bonuses, tips
     (January 1 to December 31, 2018         )
                                      YYYY          ❑Operating a business                                       ❑Operating a business


   5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
   payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
   have income that you received together, list it only once under Debtor 1.

     ✔ No
     ❑
     ❑ Yes. Fill in the details.
                                                     Debtor 1                                                    Debtor 2

                                                     Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                     Describe below.               source                        Describe below.               source
                                                                                   (before deductions and                                      (before deductions and
                                                                                   exclusions)                                                 exclusions)


     From January 1 of current year until the
     date you filed for bankruptcy:




     For last calendar year:
     (January 1 to December 31, 2019         )
                                      YYYY




     For the calendar year before that:
     (January 1 to December 31, 2018         )
                                      YYYY




 Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
Filed 11/11/20                                                                     Case 20-25169                                                                          Doc 1

 Debtor 1            Joseph                       Duwayne               Olheiser                                           Case number (if known)
                     First Name                   Middle Name              Last Name
  Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


   6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     ✔ No.
     ❑          Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                ✔No. Go to line 7.
                ❑
                ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                           payments to an attorney for this bankruptcy case.
                * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


     ❑Yes.      Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                ❑No. Go to line 7.
                ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                           payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                           this bankruptcy case.

                                                                   Dates of              Total amount paid        Amount you still owe          Was this payment for…
                                                                   payment

                                                                                                                                              ❑Mortgage
              Creditor's Name                                                                                                                 ❑Car
                                                                                                                                              ❑Credit card
              Number      Street                                                                                                              ❑Loan repayment
                                                                                                                                              ❑Suppliers or vendors
                                                                                                                                              ❑Other
              City                        State      ZIP Code




   7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
   Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
   officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
   proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

     ✔ No
     ❑
     ❑Yes. List all payments to an insider.
                                                                Dates of               Total amount paid   Amount you still owe       Reason for this payment
                                                                payment



     Insider's Name


     Number      Street




     City                         State      ZIP Code




 Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 3
Filed 11/11/20                                                                 Case 20-25169                                                                                 Doc 1

 Debtor 1            Joseph                  Duwayne                Olheiser                                             Case number (if known)
                     First Name              Middle Name               Last Name



   8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
   Include payments on debts guaranteed or cosigned by an insider.

     ✔ No
     ❑
     ❑Yes. List all payments that benefited an insider.
                                                            Dates of               Total amount paid    Amount you still owe       Reason for this payment
                                                            payment                                                                Include creditor’s name



     Insider's Name


     Number       Street




     City                         State     ZIP Code




  Part 4: Identify Legal Actions, Repossessions, and Foreclosures


   9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
   disputes.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                       Nature of the case                         Court or agency                                  Status of the case

     Case title                                                                                                                                   ❑Pending
                                                                                                 Court Name                                       ❑On appeal
                                                                                                                                                  ❑Concluded
                                                                                                 Number       Street
     Case number

                                                                                                 City                      State       ZIP Code




   10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.

     ✔No. Go to line 11.
     ❑
     ❑Yes. Fill in the information below.
                                                                        Describe the property                                   Date                 Value of the property



     Creditor’s Name


     Number       Street                                               Explain what happened

                                                                       ❑Property was repossessed.
                                                                       ❑Property was foreclosed.
                                                                       ❑Property was garnished.
     City                           State    ZIP Code                  ❑Property was attached, seized, or levied.

 Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 4
Filed 11/11/20                                                                Case 20-25169                                                                       Doc 1

 Debtor 1            Joseph                 Duwayne                Olheiser                                         Case number (if known)
                     First Name             Middle Name             Last Name



   11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
   to make a payment because you owed a debt?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                            Describe the action the creditor took                        Date action was     Amount
                                                                                                                         taken
     Creditor’s Name


     Number      Street



     City                         State     ZIP Code
                                                           Last 4 digits of account number: XXXX–




   12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
   receiver, a custodian, or another official?

     ✔ No
     ❑
     ❑Yes

  Part 5: List Certain Gifts and Contributions


   13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     ✔ No
     ❑
     ❑Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave       Value
      person                                                                                                            the gifts



     Person to Whom You Gave the Gift




     Number      Street



     City                           State   ZIP Code

     Person’s relationship to you



   14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ✔ No
     ❑
     ❑Yes. Fill in the details for each gift or contribution.




 Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
Filed 11/11/20                                                                 Case 20-25169                                                                         Doc 1

 Debtor 1             Joseph                Duwayne                 Olheiser                                        Case number (if known)
                      First Name            Middle Name              Last Name

      Gifts or contributions to charities that      Describe what you contributed                                  Date you             Value
      total more than $600                                                                                         contributed



     Charity’s Name




     Number     Street



     City                      State   ZIP Code




  Part 6: List Certain Losses


   15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
      Describe the property you lost and          Describe any insurance coverage for the loss                    Date of your loss     Value of property lost
      how the loss occurred                       Include the amount that insurance has paid. List pending
                                                  insurance claims on line 33 of Schedule A/B: Property.




  Part 7: List Certain Payments or Transfers


   16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
   seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     ❑No
     ✔Yes. Fill in the details.
     ❑
                                                    Description and value of any property transferred              Date payment or      Amount of payment
      Jen Lee Law                                                                                                  transfer was made
     Person Who Was Paid                           Attorney’s Fee
                                                                                                                  02/19/2020                         $1,500.00
      111 Deerwood Rd Ste 200
     Number     Street




      San Ramon, CA 94583
     City                      State   ZIP Code


     Email or website address


     Person Who Made the Payment, if Not You




 Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 6
Filed 11/11/20                                                              Case 20-25169                                                                           Doc 1

 Debtor 1            Joseph                Duwayne               Olheiser                                          Case number (if known)
                     First Name            Middle Name            Last Name



   17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
   deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                 Description and value of any property transferred               Date payment or         Amount of payment
                                                                                                                 transfer was made
     Person Who Was Paid



     Number     Street




     City                     State   ZIP Code




   18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
   ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                 Description and value of property           Describe any property or payments received       Date transfer was
                                                 transferred                                 or debts paid in exchange                        made

     Person Who Received Transfer


     Number     Street




     City                     State   ZIP Code

     Person's relationship to you




   19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
   often called asset-protection devices.)

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                 Description and value of the property transferred                                            Date transfer was
                                                                                                                                              made


     Name of trust




 Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 7
Filed 11/11/20                                                              Case 20-25169                                                                            Doc 1

 Debtor 1            Joseph               Duwayne                Olheiser                                          Case number (if known)
                     First Name           Middle Name            Last Name
  Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


   20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
   transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
   cooperatives, associations, and other financial institutions.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                 Last 4 digits of account number            Type of account or      Date account was           Last balance
                                                                                            instrument              closed, sold, moved, or    before closing or
                                                                                                                    transferred                transfer

     Name of Financial Institution
                                                 XXXX–                                      ❑Checking
                                                                                            ❑Savings
     Number      Street
                                                                                            ❑Money market
                                                                                            ❑Brokerage
                                                                                            ❑Other
     City                   State    ZIP Code




   21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
   valuables?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                    Who else had access to it?                     Describe the contents                        Do you still have
                                                                                                                                                it?

                                                                                                                                              ❑No
     Name of Financial Institution               Name
                                                                                                                                              ❑Yes

     Number      Street                          Number      Street



                                                 City                  State     ZIP Code

     City                   State    ZIP Code



   22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                    Who else has or had access to it?              Describe the contents                        Do you still have
                                                                                                                                                it?

                                                                                                                                              ❑No
     Name of Storage Facility                    Name
                                                                                                                                              ❑Yes

     Number      Street                          Number      Street



                                                 City                  State     ZIP Code

     City                   State    ZIP Code



 Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 8
Filed 11/11/20                                                                    Case 20-25169                                                                                Doc 1

 Debtor 1            Joseph                Duwayne                  Olheiser                                              Case number (if known)
                     First Name            Middle Name               Last Name
  Part 9: Identify Property You Hold or Control for Someone Else


   23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                     Where is the property?                              Describe the property                            Value


     Owner's Name
                                                    Number      Street


     Number     Street

                                                    City                        State   ZIP Code


     City                   State   ZIP Code




  Part 10: Give Details About Environmental Information


   For the purpose of Part 10, the following definitions apply:
       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
       or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
       wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
       including disposal sites.
       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
       contaminant, or similar term.
   Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

   24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                    Governmental unit                              Environmental law, if you know it                      Date of notice


     Name of site                                  Governmental unit



     Number     Street                             Number      Street


                                                   City                 State     ZIP Code


     City                   State   ZIP Code




   25. Have you notified any governmental unit of any release of hazardous material?

     ✔ No
     ❑
     ❑Yes. Fill in the details.




 Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 9
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 Debtor 1             Joseph                 Duwayne                   Olheiser                                             Case number (if known)
                      First Name             Middle Name               Last Name

                                                      Governmental unit                           Environmental law, if you know it                    Date of notice


     Name of site                                    Governmental unit



     Number        Street                            Number       Street


                                                     City                  State   ZIP Code


     City                     State    ZIP Code




   26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ✔ No
     ❑
     ❑Yes. Fill in the details.
                                                      Court or agency                             Nature of the case                                   Status of the case


     Case title
                                                     Court Name
                                                                                                                                                     ❑Pending
                                                                                                                                                     ❑On appeal
                                                                                                                                                     ❑Concluded
                                                     Number       Street


     Case number
                                                     City                  State   ZIP Code




  Part 11: Give Details About Your Business or Connections to Any Business


   27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

            ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            ❑ A partner in a partnership
            ❑ An officer, director, or managing executive of a corporation
            ❑ An owner of at least 5% of the voting or equity securities of a corporation
     ✔No. None of the above applies. Go to Part 12.
     ❑
     ❑Yes. Check all that apply above and fill in the details below for each business.
                                                       Describe the nature of the business                          Employer Identification number
                                                                                                                    Do not include Social Security number or ITIN.
     Name
                                                                                                                     EIN:          –

     Number        Street
                                                       Name of accountant or bookkeeper                             Dates business existed

                                                                                                                     From                 To

     City                     State    ZIP Code




 Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 10
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Filed 11/11/20                                                                  Case 20-25169                                                       Doc 1

    B2030 (Form 2030)(12/15)


                                                         United States Bankruptcy Court
                                                                       Eastern District of California

     In re
    Olheiser, Joseph Duwayne                                                                                                 Case No.
     Debtor(s)                                                                                                               Chapter         13


                                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
    1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
         rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $4,000.00
                 Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $1,500.00
                 Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              $2,500.00

    2.   The source of the compensation to be paid to me was:
                 ✔ Debtor
                 ❑                                          ❑ Other (specify)
    3.   The source of compensation to be paid to me is:
                 ✔ Debtor
                 ❑                                          ❑ Other (specify)
    4.   ✔
         ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
         of my law firm.

         ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
         of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

    5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
         a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
              bankruptcy;
         b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
         c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

    6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                  CERTIFICATION

                                I certify that the foregoing is a complete statement of any agreement or arrangement for
                              payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                              11/11/2020
                                                                                 /s/ Jen Lee
                              Date                                                  Signature of Attorney
                                                                                                                                         Jen Lee
                                                                                                                             Bar Number: 270012
                                                                                                                                    Jen Lee Law
                                                                                                                        111 Deerwood Rd Ste 200
                                                                                                                           San Ramon, CA 94583
                                                                                                                           Phone: (925) 586-6738

                                                                               Jen Lee Law
                                                                                  Name of law firm
Filed 11/11/20                                                               Case 20-25169                                                                                      Doc 1

  Fill in this information to identify your case:                                                                              Check as directed in lines 17 and 21:
                                                                                                                               According to the calculations required by this
   Debtor 1                   Joseph                 Duwayne             Olheiser                                              Statement:

                                                                                                                               ❑1. Disposable income is not determined
                              First Name            Middle Name          Last Name

   Debtor 2                                                                                                                       under 11 U.S.C. § 1325(b)(3).
   (Spouse, if filing)        First Name            Middle Name          Last Name                                             ✔2. Disposable income is determined
                                                                                                                               ❑
                                                                                                                                  under 11 U.S.C. § 1325(b)(3).
   United States Bankruptcy Court for the:                        Eastern District of California

   Case number
                                                                                                                               ❑3. The commitment period is 3 years.
   (if known)                                                                                                                  ✔4. The commitment period is 5 years.
                                                                                                                               ❑
                                                                                                                               ❑Check if this is an amended filing

 Official Form 122C-1
 Chapter 13 Statement of Your Current Monthly Income
 and Calculation of Commitment Period                                                                                                                                      04/20
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
 separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
 number (if known).



  Part 1: Calculate Your Average Monthly Income

  1.   What is your marital and filing status? Check one only.
       ✔ Not married. Fill out Column A, lines 2-11.
       ❑
       ❑Married. Fill out both Columns A and B, lines 2-11.
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
   the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                    Column A               Column B
                                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                                           non-filing spouse

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                       $9,613.25
     payroll deductions).

  3. Alimony and maintenance payments. Do not include payments from a spouse.                                                  $0.00

  4. All amounts from any source which are regularly paid for household expenses of you or your
     dependents, including child support. Include regular contributions from an unmarried partner,
     members of your household, your dependents, parents, and roommates. Do not include payments
     from a spouse. Do not include payments you listed on line 3.                                                              $0.00


  5. Net income from operating a business, profession, or
     farm                                                                 Debtor 1          Debtor 2
                                                                               $0.00               $0.00
       Gross receipts (before all deductions)

       Ordinary and necessary operating expenses
                                                                     -         $0.00   -           $0.00

                                                                               $0.00               $0.00   Copy
       Net monthly income from a business, profession, or farm                                                                 $0.00
                                                                                                           here →


  6. Net income from rental and other real property                       Debtor 1          Debtor 2
                                                                               $0.00               $0.00
       Gross receipts (before all deductions)

       Ordinary and necessary operating expenses
                                                                     -         $0.00   -           $0.00

                                                                               $0.00               $0.00   Copy
       Net monthly income from rental or other real property                                                                   $0.00
                                                                                                           here →



  Official Form 122C-1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                    page 1
Filed 11/11/20                                                                                                   Case 20-25169                                                                     Doc 1

  Debtor 1                     Joseph                             Duwayne                                   Olheiser                              Case number (if known)
                               First Name                          Middle Name                              Last Name
                                                                                                                                   Column A                  Column B
                                                                                                                                   Debtor 1                  Debtor 2 or
                                                                                                                                                             non-filing spouse
   7. Interest, dividends, and royalties                                                                                                           $0.00

   8. Unemployment compensation                                                                                                                    $0.00
      Do not enter the amount if you contend that the amount received was a benefit under the Social
      Security Act. Instead, list it here: ..................................................                ↓
             For you....................................................................................                   $0.00
             For your spouse......................................................................

   9. Pension or retirement income. Do not include any amount received that was a benefit under                                                    $0.00
      the Social Security Act. Also, except as stated in the next sentence, do not include any
      compensation, pension, pay, annuity, or allowance paid by the United States Government in
      connection with a disability, combat-related injury or disability, or death of a member of the
      uniformed services. If you received any retired pay paid under chapter 61 of title 10, then
      include that pay only to the extent that it does not exceed the amount of retired pay to which you
      would otherwise be entitled if retired under any provision of title 10 other than chapter 61 of that
      title.

  10. Income from all other sources not listed above. Specify the source and amount. Do not
      include any benefits received under the Social Security Act; payments made under the
      Federal law relating to the national emergency declared by the President under the National
      Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
      (COVID-19); payments received as a victim of a war crime, a crime against humanity, or
      international or domestic terrorism; or compensation, pension, pay, annuity, or allowance paid
      by the United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other sources on
      a separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                   +                          +
                                                                                                                                               $9,613.25                             =       $9,613.25
   11. Calculate your total average monthly income. Add lines 2 through 10 for each                                                                           +
       column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                         Total average
                                                                                                                                                                                         monthly income

  Part 2: Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11. .................................................................................                                                   $9,613.25

  13. Calculate the marital adjustment. Check one:

     ✔You are not married. Fill in 0 below.
     ❑
     ❑You are married and your spouse is filing with you. Fill in 0 below.
     ❑You are married and your spouse is not filing with you.
         Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
         dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your dependents.
         Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
         adjustments on a separate page.
         If this adjustment does not apply, enter 0 below.




                                                                                                                              +

         Total...........................................................................................                                $0.00
                                                                                                                                                     Copy here. →
                                                                                                                                                                                 -              $0.00

  14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                $9,613.25




  Official Form 122C-1                                           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 2
Filed 11/11/20   Case 20-25169   Doc 1
Filed 11/11/20                                                               Case 20-25169                                                                                 Doc 1

  Fill in this information to identify your case:

   Debtor 1                   Joseph                Duwayne             Olheiser
                              First Name            Middle Name         Last Name

   Debtor 2
   (Spouse, if filing)        First Name            Middle Name         Last Name

   United States Bankruptcy Court for the:                        Eastern District of California

   Case number                                                                                                                              ❑     Check if this is an
   (if known)                                                                                                                                     amended filing


 Official Form 122C-2
 Chapter 13 Calculation of Your Disposable Income                                                                                                                         04/19
  To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Official
  Form 122C–1).

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
  a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
  number (if known).



  Part 1: Calculate Your Deductions from Your Income


   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the questions in lines
   6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This information may also be available at the
   bankruptcy clerk’s office.


   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual expenses if they are higher
   than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form 122C–1, and do not deduct any amounts that you
   subtracted from your spouse’s income in line 13 of Form 122C–1.



   If your expenses differ from month to month, enter the average expense.



   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.




    5. The number of people used in determining your deductions from income
        Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the number of
                                                                                                                                              1
        any additional dependents whom you support. This number may be different from the number of people in your household.




      National
      Standards                You must use the IRS National Standards to answer the questions in lines 6-7.




    6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                                           $715.00
       in the dollar amount for food, clothing, and other items.


    7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in the dollar
       amount for out-of-pocket health care. The number of people is split into two categories─people who are under 65 and people who are 65 or
       older─because older people have a higher IRS allowance for health care costs. If your actual expenses are higher than this IRS amount, you
       may deduct the additional amount on line 22.




  Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                                             page 1
Filed 11/11/20                                                                                               Case 20-25169                                                                                         Doc 1

  Debtor 1                     Joseph                           Duwayne                             Olheiser                                                           Case number (if known)
                               First Name                       Middle Name                          Last Name



          People who are under 65 years of age

          7a. Out-of-pocket health care allowance per person                                                                $56.00
          7b. Number of people who are under 65                                                                  X          1
                                                                                                                                                              Copy
          7c. Subtotal. Multiply line 7a by line 7b.                                                                        $56.00                                              $56.00
                                                                                                                                                              here →

          People who are 65 years of age or older

          7d. Out-of-pocket health care allowance per person                                                              $125.00
          7e. Number of people who are 65 or older                                                               X          0
                                                                                                                                                              Copy      +             $0.00
          7f.     Subtotal. Multiply line 7d by line 7e.                                                                      $0.00
                                                                                                                                                              here →

       7g.      Total. Add lines 7c and 7f. ...............................................................................................................                         $56.00    Copy here →....     $56.00


       Local
       Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.

  Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
  bankruptcy purposes into two parts:

       Housing and utilities – Insurance and operating expenses
       Housing and utilities – Mortgage or rent expenses

  To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
  specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

  8.     Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in                                                                                     $583.00
         the dollar amount listed for your county for insurance and operating expenses.
  9.     Housing and utilities – Mortgage or rent expenses:
          9a. Using the number of people you entered in line 5, fill in the dollar amount                                                                              $1,600.00
              listed for your county for mortgage or rent expenses.
          9b. Total average monthly payment for all mortgages and other debts secured by
              your home.

                To calculate the total average monthly payment, add all amounts that are
                contractually due to each secured creditor in the 60 months after you file for
                bankruptcy. Next divide by 60.

                   Name of the creditor                                                                  Average monthly
                                                                                                         payment




                                                                                                             +
                                                                                                                                                Copy                                 Repeat this amount
                              9b. Total average monthly payment                                                          $0.00                                  –           $0.00
                                                                                                                                                here →                               on line 33a.

         9c. Net mortgage or rent expense.
             Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent expense). If this
                                                                                                                                                                        $1,600.00       Copy here →.....        $1,600.00
             number is less than $0, enter $0.

  10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                                                         $0.00
      the calculation of your monthly expenses, fill in any additional amount you claim.
             Explain
             why:




  Official Form 122C-2                                                                  Chapter 13 Calculation of Your Disposable Income                                                                          page 2
Filed 11/11/20                                                                       Case 20-25169                                                                 Doc 1

  Debtor 1               Joseph                   Duwayne                     Olheiser                                     Case number (if known)
                         First Name               Middle Name                  Last Name



   11.   Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
         ❑     0. Go to line 14.
         ✔
         ❑     1. Go to line 12.
         ❑     2 or more. Go to line 12.

   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating expenses, fill in           $209.00
       the Operating Costs that apply for your Census region or metropolitan statistical area.

   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.


             Vehicle 1      Describe Vehicle 1:       Car Lease


                                                                                                                     $521.00
         13a. Ownership or leasing costs using IRS Local Standard.......................................
         13b. Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e, add all amounts
               that are contractually due to each secured creditor in the 60 months after you
               file for bankruptcy. Then divide by 60.
               Name of each creditor for Vehicle 1                      Average monthly
                                                                        payment
               American Honda Finance                                                  $509.00

                                                                        +
                                                                                        $509.00         Copy                 Repeat this amount
                                   Total average monthly payment                                        here →   –   $509.00 on line 33b.
         13c. Net Vehicle 1 ownership or lease expense
                                                                                                                     $12.00 Copy net Vehicle 1
               Subtract line 13b from line 13a. If this number is less than $0, enter $0.............                       expense here →               $12.00


             Vehicle 2   Describe Vehicle 2:


         13d. Ownership or leasing costs using IRS Local Standard.......................................
         13e. Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.
                Name of each creditor for Vehicle 2                     Average monthly
                                                                        payment



                                                                        +
                                                                                                        Copy                   Repeat this amount
                                   Total average monthly payment                                        here →   –             on line 33c.
         13f. Net Vehicle 2 ownership or lease expense
                                                                                                                               Copy net Vehicle 2
               Subtract line 13e from 13d. If this number is less than $0, enter $0.............                               expense here →


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public Transportation
       expense allowance regardless of whether you use public transportation.


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct a public
       transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the IRS Local Standard for    $0.00
       Public Transportation.




  Official Form 122C-2                                               Chapter 13 Calculation of Your Disposable Income                                             page 3
Filed 11/11/20                                                               Case 20-25169                                                                                                Doc 1

  Debtor 1             Joseph                Duwayne                  Olheiser                                                               Case number (if known)
                       First Name             Middle Name              Last Name



    Other Necessary              In addition to the expense deductions listed above, you are allowed your monthly expenses for the
    Expenses                     following IRS categories.

  16. Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-employment taxes, social                               $2,000.00
      security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for these taxes. However, if you expect to receive a
      tax refund, you must divide the expected refund by 12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
      Do not include real estate, sales, or use taxes.

  17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union dues, and uniform                                 $0.00
      costs.
      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

  18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing together, include                                   $0.00
      payments that you make for your spouse’s term life insurance.
      Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other
      than term.

  19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency, such as spousal                                    $0.00
      or child support payments.
      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

  20. Education: The total monthly amount that you pay for education that is either required:                                                                                        $0.00
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.

  21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                                                          $0.00
      Do not include payments for any elementary or secondary school education.

  22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is required for the health                                    $0.00
      and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health savings account. Include only the amount that is
      more than the total entered in line 7.
      Payments for health insurance or health savings accounts should be listed only in line 25.

  23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you and your                                       +        $0.00
      dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the extent necessary for
      your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by your employer.
      Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment expenses, such as those
      reported on line 5 of Form 122C-1, or any amount you previously deducted.

  24. Add all of the expenses allowed under the IRS expense allowances.                                                                                                           $5,175.00
      Add lines 6 through 23.

    Additional Expense           These are additional deductions allowed by the Means Test.
    Deductions                   Note: Do not include any expense allowances listed in lines 6-24.

  25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance, disability
      insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your dependents.

        Health insurance                                           $280.00
        Disability insurance                                         $0.00
        Health savings account                           +           $0.00
        Total                                                      $280.00       Copy total here → ........................................................................        $280.00
       Do you actually spend this total amount?

       ❑No. How much do you actually spend?
       ✔Yes
       ❑
  26. Continuing contributions to the care of household or family members.                                                                                                           $0.00
      The actual monthly expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or
      disabled member of your household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

  27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and your family                                     $0.00
      under the Family Violence Prevention and Services Act or other federal laws that apply.
      By law, the court must keep the nature of these expenses confidential.




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  Debtor 1                 Joseph                          Duwayne                            Olheiser                                                      Case number (if known)
                           First Name                      Middle Name                         Last Name



  28.   Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
        If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill in the excess
        amount of home energy costs                                                                                                                                                                $0.00
        You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed is reasonable
        and necessary.

  29.   Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83* per child) that you                                                        $0.00
        pay for your dependent children who are younger than 18 years old to attend a private or public elementary or secondary school.
        You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
        necessary and not already accounted for in lines 6-23.
        * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

  30.   Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than the combined                                                      $0.00
        food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and clothing allowances in the
        IRS National Standards.
        To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this form. This
        chart may also be available at the bankruptcy clerk’s office.
        You must show that the additional amount claimed is reasonable and necessary.

  31.   Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial instruments to a                                              +      $0.00
        religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
        Do not include any amount more than 15% of your gross monthly income.

  32.   Add all of the additional expense deductions.                                                                                                                                            $280.00
        Add lines 25 through 31.

   Deductions for Debt Payment

  33.   For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and other
        secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in the 60
        months after you file for bankruptcy. Then divide by 60.
                                                                                                                                                       Average monthly
                                                                                                                                                       payment

         Mortgages on your home
                                                                                                                                                                       $0.00
         33a. Copy line 9b here .....................................................................................................→

         Loans on your first two vehicles
                                                                                                                                                                     $509.00
         33b. Copy line 13b here ..................................................................................................→

         33c. Copy line 13e here ..................................................................................................→

         33d. List other secured debts:

             Name of each creditor for other                                Identify property that secures the debt                      Does payment
             secured debt                                                                                                                include taxes or
                                                                                                                                         insurance?

                                                                            2052 Bates Circle El Dorado Hills, CA                        ✔ No
                                                                                                                                         ❑
         Bayview Loan Servicing LLC                                         95762                                                        ❑ Yes                   $1,978.00
                                                                            2052 Bates Circle El Dorado Hills, CA                        ✔ No
                                                                                                                                         ❑
         Cenlar                                                             95762                                                        ❑ Yes                     $130.00

                                                                                                                                         ❑ No
                                                                                                                                         ❑ Yes              +
                                                                                                                                                                 $2,617.00     Copy total
         33e. Total average monthly payment. Add lines 33a through 33d. ...................................                                                                                     $2,617.00
                                                                                                                                                                               here→




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  Debtor 1                    Joseph                            Duwayne                              Olheiser                                                            Case number (if known)
                              First Name                        Middle Name                           Last Name



   34.   Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for your support or the
         support of your dependents?

         ❑No. Go to line 35.
         ✔Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of your
         ❑
             property (called the cure amount). Next, divide by 60 and fill in the information below.

           Name of the creditor                                       Identify property that                                   Total cure                            Monthly cure
                                                                      secures the debt                                         amount                                amount
                                                                                                                                                          ÷ 60 =
                                                                                                                                                          ÷ 60 =
                                                                                                                                                          ÷ 60 =              +
                                                                                                                                     Copy total              Total                 $0.00                    $0.00
                                                                                                                                     here →
   35.   Do you owe any priority claims—such as a priority tax, child support, or alimony—that are past due as of the filing date of your
         bankruptcy case? 11 U.S.C. § 507.

         ❑No. Go to line 36.
         ✔Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as those you
         ❑
                     listed in line 19.

                      Total amount of all past-due priority claims..................................................................                                     $65,710.00               ÷ 60   $1,095.17


   36.   Projected monthly Chapter 13 plan payment                                                                                                                   $2,275.00

              Current multiplier for your district as stated on the list issued by the Administrative Office of the United
              States Courts (for districts in Alabama and North Carolina) or by the Executive Office for United States
              Trustees (for all other districts).
              To find a list of district multipliers that includes your district, go online using the link specified in the
              separate instructions for this form. This list may also be available at the bankruptcy clerk’s office.                                                 X            8.30 %


                                                                                                                                                                                              Copy
                                                                                                                                                                          $188.83             total
              Average monthly administrative expense
                                                                                                                                                                                              here →      $188.83


   37.   Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                                                            $3,901.00



  Total Deductions from Income


   38.   Add all of the allowed deductions.

         Copy line 24, All of the expenses allowed under IRS expense allowances ....................................                                                              $5,175.00


         Copy line 32, All of the additional expense deductions....................................................................                                                $280.00


         Copy line 37, All of the deductions for debt payment.......................................................................                                      +       $3,901.00
                                                                                                                                                                                   Copy
                                                                                                                                                                   $9,356.00       total                  $9,356.00
         Total deductions..............................................................................................................................                            here →




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  Debtor 1                  Joseph                      Duwayne                       Olheiser                                                  Case number (if known)
                            First Name                  Middle Name                    Last Name


  Part 2: Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)


  39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13 Statement of
      Your Current Monthly Income and Calculation of Commitment Period.                                                               ................................................................   $9,613.25


  40. Fill in any reasonably necessary income you receive for support for dependent children. The                                                         $0.00
      monthly average of any child support payments, foster care payments, or disability payments for a
      dependent child, reported in Part I of Form 122C-1, that you received in accordance with applicable
      nonbankruptcy law to the extent reasonably necessary to be expended for such child.

  41. Fill in all qualified retirement deductions. The monthly total of all amounts that your employer withheld                                           $0.00
      from wages as contributions for qualified retirement plans, as specified in 11 U.S.C. § 541(b)(7) plus
      all required repayments of loans from retirement plans, as specified in 11 U.S.C. § 362(b)(19).

  42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here .... →                                                     $9,356.00


  43. Deduction for special circumstances. If special circumstances justify additional expenses and you
      have no reasonable alternative, describe the special circumstances and their expenses. You must give
      your case trustee a detailed explanation of the special circumstances and documentation for the
      expenses.

            Describe the special circumstances                                      Amount of expense




                                                                                          +

                                                                                                       $0.00      Copy here
                                                                     Total                                        →                   +               $0.00


  44. Total adjustments. Add lines 40 through 43........................................................................                          $9,356.00                    Copy here → –               $9,356.00




  45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                                                                            $257.26



  Part 3: Change in Income or Expenses


  46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or
      are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill
      in the information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first
      column, enter line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in
      the amount of the increase.

     Form               Line            Reason for change                                                                     Date of change             Increase or                    Amount of change
                                                                                                                                                         decrease?
    ❑ 122C-1                                                                                                                                            ❑ Increase
    ❑ 122C-2                                                                                                                                            ❑ Decrease
    ❑ 122C-1                                                                                                                                            ❑ Increase
    ❑ 122C-2                                                                                                                                            ❑ Decrease




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